AO 450 (R ev. 5/85) Judgment in a C ivil C ase q




                           United States District Court
                                                   EASTERN DISTRICT OF WISCONSIN

CHRISTOPHER GOODVINE,
        Plaintiff,
                                                                         JUDGMENT IN A CIVIL CASE
             v.
                                                                               Case No. 17-C-1223
JON LITSCHER, et al.,
         Defendant.



9            Jury Verdict. This action came before the Court for a trial by jury. The issues have
             been tried and the jury has rendered its verdict.

:            Decision by Court. This action came before the Court for consideration.


        IT IS HEREBY ORDERED AND ADJUDGED that the plaintiff takes nothing and the
case is DISMISSED. The court issues the plaintiff a strike under 28 U.S.C. § 1915(g).




                                                    Approved:    s/ William C. Griesbach
                                                                 William C. Griesbach, Chief Judge
                                                                 United States District Court


             Dated: February 8, 2018.

                                                                 STEPHEN C. DRIES
                                                                 Clerk of Court

                                                                 s/ Cheryl A. Veazie
                                                                 (By) Deputy Clerk




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